                          Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 1 of 19


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Alpine Summit Energy Partners, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3322 West End Ave., Ste. 450
                                  Nashville, TN 37203
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Davidson                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  3322 West End Ave, Suite 450 Nashville, TN 37203
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.alpinesummitenergy.com/


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                          Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 2 of 19
Debtor    Alpine Summit Energy Partners, Inc.                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                           Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 3 of 19
Debtor    Alpine Summit Energy Partners, Inc.                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Schedule I                                               Relationship               Affiliate
                                                                Southern District of
                                                    District    Texas                       When      7/05/23                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                            Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 4 of 19
Debtor   Alpine Summit Energy Partners, Inc.                                             Case number (if known)
         Name


16. Estimated liabilities        $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                                 $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                         Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 5 of 19
Debtor    Alpine Summit Energy Partners, Inc.                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       07/05/2023
                                                   MM / DD / YYYY


                             X   /s/ Craig Perry                                                         Craig Perry
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO and Chairman of the Board Alpine Summit Energy Partners, Inc.




18. Signature of attorney    X   /s/ Eric M. English                                                       Date 07/05/2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Eric M. English
                                 Printed name

                                 Porter Hedges LLP
                                 Firm name

                                 1000 Main Street, 36th Floor
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (713) 226-6000               Email address      eenglish@porterhedges.com

                                 24062714 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
         Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 6 of 19




                                            Schedule I
                                        Affiliated Entities
        On the date hereof, each of the affiliate entities listed below (including the debtor in this
chapter 11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United
States Code, 11 U.S.C. §§ 101 et seq. Contemporaneously with the filings of these petitions, such
entities filed a motion requesting joint administration of their chapter 11 cases.


Ironroc Energy Partners LLC
Alpine Summit Energy Partners, Inc.
Alpine Summit Energy Investors, Inc.
HB2 Origination, LLC
Ageron Ironroc Energy, LLC
Ageron Energy II, LLC
Alpine Carbon, LLC
             Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 7 of 19




                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                               §
In re:                         § Chapter 11
                               §
ALPINE SUMMIT ENERGY PARTNERS, § Case No. 23-[______]
INC., et al.                   §
                               § (Jointly Administration Requested)
             Debtors. 1        §
                               §
                               §

                   CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                   AND LIST OF EQUITY INTEREST HOLDERS PURSUANT TO
                       FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

            Pursuant to rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), attached hereto as Exhibit A is an organizational list

reflecting all of the ownership interests in Alpine Summit Energy Partners, Inc. (“ALPS”) and its

debtor affiliates, as debtors and debtors in possession (collectively, the “Debtors”) . The Debtors

respectfully represent as follows:

            1.       Each of the Debtors identified on Exhibit A is owned as depicted therein.




1
    The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification number,
    are Alpine Summit Energy Partners, Inc. (3755), HB2 Origination, LLC (6760), Ageron Energy II, LLC (1436),
    Ironroc Energy Partners LLC (9801), Ageron Ironroc Energy, LLC (N/A), Alpine Summit Energy Investors, Inc.
    (4428), and Alpine Carbon, LLC (N/A). The location of the Debtors’ service address is: 3322 West End Ave, Suite
    450, Nashville, TN 37203.


                                                               1
     Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 8 of 19




                                      Exhibit A

                                                    Percentage
                                                                 Last Known Address
       Debtor                 Equity Holder             of
                                                                  of Equity Holder
                                                    Ownership
                                                                  3322 West End Ave,
Alpine Summit Energy
                             HB2 Energy Inc.         27.61%       Suite 450, Nashville,
    Partners, Inc.
                                                                       TN 37203
                                                                      NCI Account
Alpine Summit Energy                                             300-100 Adelaide St. W
                               CDS & Co.              17.7%
    Partners, Inc.                                                  Toronto, Ontario
                                                                    MSH 153 Canada
                                                                  3322 West End Ave,
Alpine Summit Energy      Alpine Summit Energy
                                                      100%        Suite 450, Nashville,
    Investors, Inc.           Partners, Inc.
                                                                       TN 37203
                                                                  3322 West End Ave,
                          Alpine Summit Energy      99% Class
HB2 Origination, LLC                                              Suite 450, Nashville,
                              Investors, Inc.        A Shares
                                                                       TN 37203
                                                                  3322 West End Ave,
 Alpine Carbon, LLC       HB2 Origination, LLC        100%        Suite 450, Nashville,
                                                                       TN 37203
                                                                  3322 West End Ave,
Ageron Energy II, LLC     HB2 Origination, LLC        100%        Suite 450, Nashville,
                                                                       TN 37203
                                                                  3322 West End Ave,
Ironroc Energy Partners
                             HB2 Energy Inc.          100%        Suite 450, Nashville,
         LLC
                                                                       TN 37203
                                                                  3322 West End Ave,
Ageron Ironroc Energy,    Ironroc Energy Partners
                                                      100%        Suite 450, Nashville,
         LLC                       LLC
                                                                       TN 37203




                                          2
         Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 9 of 19



                              RESOLUTIONS OF THE DIRECTORS
                                           OF
                           ALPINE SUMMIT ENERGY PARTNERS, INC.

Dated as of July 4, 2023

The undersigned, being all of the directors of the board of directors (the “Board”) of Alpine Summit
Energy Partners, Inc. (the “Company”) consent to the following resolutions pursuant to the
provisions of the Business Corporations Act (British Columbia).

FILING OF BANKRUPTCY PETITIONS

WHEREAS:

     A. The Board previously formed a special committee (the “Special Committee”), to
        determine, among other things, whether filing under Chapter 11 of Title 11 of the United
        States Code (the “Bankruptcy Code”) would be in the best interest of the Company and
        its stakeholders, such determination to be made pursuant to the terms and conditions of
        that certain Special Committee Mandate (the “Mandate”) effective as of March 2023.

     B. The Special Committee and the Board have considered the financial and operational
        aspects of the Company’s business.

     C. The Special Committee and the Board have reviewed the historical performance of the
        Company, the market for the Company’s products, and the current and long-term liabilities
        of the Company.

     D. The Special Committee and the Board have, over the last several months, reviewed the
        materials presented by the management of the Company and the advisors to the
        Company regarding the possible need to restructure the Company, and have analyzed
        each of the strategic alternatives available to the Company and the Board, and the impact
        of the foregoing on the Company’s business and its other stakeholders.

     E. The Special Committee has recommended to the Board that it is desirable and in the best
        interest of the Company and certain of its subsidiaries (the “Filing Subsidiaries”), their
        creditors, employees, members and other interested parties and stakeholders that a
        petition be filed by the Company and each of the Filing Subsidiaries seeking relief under
        the provisions of Chapter 11 of the Bankruptcy Code.

RESOLVED THAT:

1.      In the judgment of the Board, as recommended by the Special Committee, it is desirable
        and in the best interests of the Company and the Filing Subsidiaries, their creditors,
        employees, members and other interested parties and stakeholders that a petition be filed
        by the Company and each of the Filing Subsidiaries seeking relief under the provisions of
        Chapter 11 of the Bankruptcy Code.

2.      Upon the filing of the petitions by the Company and each of the Filing Subsidiaries seeking
        relief under the provisions of Chapter 11 of the Bankruptcy Code, the dissolution of the



                                                 1
     Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 10 of 19



     Special Committee and the termination of its duties pursuant to the Mandate be, and
     hereby are approved, ratified, adopted and confirmed.

3.   The officers of the Company and each of the Filing Subsidiaries be, and each of them
     hereby is, authorized on behalf of the Company and each of the Filing Subsidiaries to
     execute, verify and file all petitions, schedules, lists, and other papers or documents, and
     to take and perform any and all further actions and steps that any such officer deems
     necessary, desirable and proper in connection with the Company’s and each of the Filing
     Subsidiaries’ Chapter 11 cases, with a view to the successful prosecution of such case.

4.   The officers of the Company and each of the Filing Subsidiaries, on behalf of the Company
     and each of the Filing Subsidiaries, are authorized, empowered and directed to retain the
     law firm of Porter Hedges LLP (“Porter Hedges”) as bankruptcy counsel to represent and
     assist the Company and each of the Filing Subsidiaries in carrying out their respective
     duties under Chapter 11 of the Bankruptcy Code, and to take any and all actions to
     advance the Company’s and each of the Filing Subsidiaries’ rights in connection therewith,
     and the officers are hereby authorized and directed to execute appropriate retention
     agreements, pay appropriate retainers prior to and immediately upon the filing of the
     bankruptcy, and to cause to be filed an appropriate application for authority to retain the
     services of Porter Hedges.

5.   The officers of the Company and each of the Filing Subsidiaries, on behalf of the Company
     and each of the Filing Subsidiaries, are authorized, empowered and directed to retain the
     services of Houlihan Lokey Capital, Inc. and its affiliates (“Houlihan”) as the Company’s
     and each of the Filing Subsidiaries’ investment banker to represent and assist the
     Company and each of the Filing Subsidiaries in carrying out their respective duties under
     the Bankruptcy Code, and to take any and all actions to advance the Company’s and each
     of the Filing Subsidiaries’ rights and obligations, and in connection therewith, the officers
     are hereby authorized and directed to execute appropriate retention agreements, pay
     appropriate retainers prior to and immediately upon the filing of the bankruptcy, and to
     cause to be filed an appropriate application for authority to retain the services of Houlihan.

6.   The officers of the Company and each of the Filing Subsidiaries, on behalf of the Company
     and each of the Filing Subsidiaries, are authorized, empowered and directed to retain the
     services of Huron Consulting Services LLC and its affiliates (“Huron”) as the Company’s
     and each of the Filing Subsidiaries’ financial advisor to represent and assist the Company
     and each of the Filing Subsidiaries in carrying out their respective duties under the
     Bankruptcy Code, to provide the Company and each of the Filing Subsidiaries with a Chief
     Restructuring Officer, a Deputy Chief Restructuring Officer and other additional personnel
     as required, and to take any and all actions to advance the Company’s and each of the
     Filing Subsidiaries’ rights and obligations, and in connection therewith, the officers are
     hereby authorized and directed to execute appropriate retention agreements, pay
     appropriate retainers prior to and immediately upon the filing of the bankruptcy, and to
     cause to be filed an appropriate application for authority to retain the services of Huron
     and the representatives of Huron named below as Chief Restructuring Officer and Deputy
     Chief Restructuring Officer, respectively.

7.   The Board hereby elects Ryan Bouley as Chief Restructuring Officer of the Company and
     Sean Clements as Deputy Chief Restructuring Officer of the Company, to hold such offices



                                               2
      Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 11 of 19



      until the earlier election and qualification of their respective successors or until their earlier
      resignation or removal.

8.    The officers of the Company and each of the Filing Subsidiaries, on behalf of the Company
      and each of the Filing Subsidiaries, are authorized, empowered and directed to retain the
      services of Kroll Restructuring Administration LLC and its affiliates (“Kroll”) as the
      Company’s and each of the Filing Subsidiaries’ claims, noticing and solicitation agent to
      represent and assist the Company and each of the Filing Subsidiaries in carrying out their
      respective duties under the Bankruptcy Code, and to take any and all actions to advance
      the Company’s and each of the Filing Subsidiaries’ rights and obligations, and in
      connection therewith, the officers are hereby authorized and directed to execute
      appropriate retention agreements, pay appropriate retainers prior to and immediately upon
      the filing of the bankruptcy, and to cause to be filed an appropriate application for authority
      to retain the services of Kroll.

9.    The officers of the Company and each of the Filing Subsidiaries be, and hereby are,
      authorized and directed to employ any other professionals necessary to assist the
      Company and each of the Filing Subsidiaries in carrying out their respective duties under
      the Bankruptcy Code; and in connection therewith, the officers are hereby authorized and
      directed to execute appropriate retention agreements, pay appropriate retainers prior to
      or immediately upon the filing of the Chapter 11 case and cause to be filed appropriate
      applications with the bankruptcy court for authority to retain the services of any other
      professionals, as necessary, and on such terms as are deemed necessary, desirable and
      proper.

10.   The officers of the Company and each of the Filing Subsidiaries be, and each of them
      hereby is, authorized and empowered to obtain post-petition financing according to terms
      which may be negotiated by the management of the Company and the applicable
      governing body of each of the Filing Subsidiaries, as applicable, including under debtor-
      in-possession credit facilities or the use of cash collateral; and to enter into any guaranties
      and to pledge and grant liens on the Company’s and any of the Filing Subsidiaries’ assets
      as may be contemplated by or required under the terms of such post-petition financing or
      cash collateral agreement; and in connection therewith, the officers are hereby authorized
      and directed to execute appropriate loan agreements, cash collateral agreements and
      related ancillary documents.

11.   In connection with the Chapter 11 case, the officers of the Company and each of the Filing
      Subsidiaries, as applicable, be, and each of them hereby is, authorized and empowered
      to enter into a restructuring support agreement among the applicable debtor(s) and the
      other parties thereto, a plan of reorganization or liquidation, as applicable, and any
      disclosure statements in connection therewith, and to perform the obligations of the
      Company and each of the Filing Subsidiaries, as applicable, contemplated thereunder.

12.   The officers of the Company and each of the Filing Subsidiaries be, and each of them
      hereby is, authorized on behalf of the Company and each of the Filing Subsidiaries, as
      applicable, to take any and all actions, to execute, deliver, certify, file and/or record and
      perform any and all documents, agreements, instruments, motions, affidavits, applications
      for approvals or rulings of governmental or regulatory authorities or certificates and to take
      any and all actions and steps deemed by any such officer to be necessary or desirable to
      carry out the purpose and intent of each of the foregoing resolutions and to effectuate a


                                                  3
      Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 12 of 19



      successful Chapter 11 case, including, but not limited to the development, filing and
      prosecution to confirmation of a Chapter 11 plan and related disclosure statement.

13.   Any one director or officer of the Company and each of the Filing Subsidiaries is hereby
      authorized, on behalf of the Company or such other Filing Subsidiary, as applicable, to
      take all such further actions and to execute and deliver all such further agreements,
      notices, filings, certificates, undertakings, instruments and documents, as such director or
      officer may determine to be necessary in order to give effect to the foregoing resolutions
      and to fully carry out the intent and accomplish the purpose of such resolutions.

14.   Any and all actions taken by any director or officer of the Company or any of the Filing
      Subsidiaries prior to the adoption of these resolutions, and for the purposes described in
      the foregoing resolutions, are hereby approved, ratified, adopted and confirmed.

15.   These resolutions may be delivered by facsimile or other electronic transmission and in
      one or more counterparts, and each of which when so executed and delivered shall be
      deemed to be an original, and shall have the same effect as the signing or execution of
      the original, and collectively shall constitute one and the same instrument.


                                   [Signature Page Follows]




                                               4
         Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 13 of 19



                                  JOINT WRITTEN CONSENT
                                 OF THE GOVERNING BODIES
                         OF THE APPLICABLE SUBSIDIARY COMPANIES
                                            OF
                           ALPINE SUMMIT ENERGY PARTNERS, INC.

                                                 July 4, 2023

        The undersigned identified on the signature pages hereof, acting pursuant to the applicable statutory
and other legal requirement for each of the entities named below (each, a “Company” and collectively, the
“Companies”):

        ALPINE SUMMIT ENERGY INVESTORS, INC., a Nevada corporation;

        HB2 ORIGINATION, LLC, a Delaware limited liability company;

        ALPINE CARBON, LLC, a Delaware limited liability company;

        ALPINE MAVERICK VI GP, LLC, a Delaware limited liability company;

        HB2 MIDCO VI, LLC, a Delaware limited liability company;

        ALPINE MAVERICK VII GP, LLC, a Delaware limited liability company;

        HB2 MIDCO VII, LLC, a Delaware limited liability company;

        ALPINE RED DAWN II GP, LLC, a Delaware limited liability company;

        HB2 RED DAWN MIDCO II, LLC, a Delaware limited liability company; and

        AGERON ENERGY II, LLC, a Delaware limited liability company;

constitute all of the governing bodies (each, a “Governing Body” and collectively, the “Governing
Bodies”), required by applicable law and each Company’s organizational documents (the “Applicable
Requirements”) to act for such Company, and each and all of the undersigned, acting in accordance with
the authority contained in the Applicable Requirements, waiving all notice, do hereby consent to and
adopt the following resolutions and take the following actions without a meeting, by written consent (this
“Consent”).

Proper Officers

        NOW, THEREFORE, BE IT RESOLVED, that for purposes of these resolutions, the term “Proper
Officers” shall mean any one or more of the duly elected Chief Executive Officer, President, Chief
Operating Officer, Chief Investment Officer, Chief Financial Officer, Chief Legal Officer and Chief
Administrative Officer of each Company, as applicable, acting alone or with any of the other Proper
Officers of such Company, and solely for purposes of attesting to or certifying the authenticity of signatures,
documents, instruments or agreements, the Secretary of such Company.




13981449v2
         Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 14 of 19




Filing of Bankruptcy Petition

      WHEREAS, the Governing Bodies, have considered the financial and operational aspects of each
Company’s business;

      WHEREAS, each Governing Body has reviewed the historical performance of the applicable
Company, the market for such Company’s products, and the current and long-term liabilities of such
Company; and

         WHEREAS, the Governing Bodies have, over the last several months, reviewed the materials
presented by the management of and the advisors to each Company regarding the possible need to
restructure the Companies, and have analyzed each of the strategic alternatives available to such Governing
Body, and the impact of the foregoing on each Company’s business and its other stakeholders.

         NOW, THEREFORE, BE IT RESOLVED, that in the judgment of each Governing Body, it is
desirable and in the best interests of the Companies, their creditors, employees, members and other
interested parties and stakeholders that a petition be filed by each Company seeking relief under the
provisions of Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”);

        RESOLVED FURTHER, that the Proper Officers of each Company be, and each of them hereby is,
authorized on behalf of such Company to execute, verify and file all petitions, schedules, lists, and other
papers or documents, and to take and perform any and all further actions and steps that any such Proper
Officer deems necessary, desirable and proper in connection with each Company’s Chapter 11 case, with a
view to the successful prosecution of such case;

        RESOLVED FURTHER, that the Proper Officers of each Company, on behalf of such Company,
are authorized, empowered and directed to retain the law firm of Porter Hedges LLP (“Porter Hedges”) as
bankruptcy counsel to represent and assist each Company in carrying out its duties under Chapter 11 of the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights in connection
therewith, and the Proper Officers are hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the bankruptcy, and to
cause to be filed an appropriate application for authority to retain the services of Porter Hedges;

          RESOLVED FURTHER, that the Proper Officers of each Company, on behalf of such Company,
are authorized, empowered and directed to retain the services of Houlihan Lokey Capital, Inc. and its
affiliates (“Houlihan”) as each Company’s investment banker to represent and assist each Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance each
Company’s rights and obligations, and in connection therewith, the Proper Officers are hereby authorized
and directed to execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the bankruptcy, and to cause to be filed an appropriate application for authority to retain
the services of Houlihan;

          RESOLVED FURTHER, that the Proper Officers of each Company, on behalf of such Company,
are authorized, empowered and directed to retain the services of Huron Consulting Services LLC and its
affiliates (“Huron”) as each Company’s financial advisor to represent and assist each Company in carrying
out its duties under the Bankruptcy Code, to provide the Company and each of the Filing Subsidiaries with a
Chief Restructuring Officer, a Deputy Chief Restructuring Officer and other additional personnel as
required, and to take any and all actions to advance each Company’s rights and obligations, and in



                                                      2
         Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 15 of 19




connection therewith, the Proper Officers are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the bankruptcy,
and to cause to be filed an appropriate application for authority to retain the services of Huron and the
representatives of Huron named below as Chief Restructuring Officer and Deputy Chief Restructuring
Officer, respectively;

          RESOLVED FURTHER, that the Governing Body of each company hereby elects Ryan Bouley as
Chief Restructuring Officer of the Company and Sean Clements as Deputy Chief Restructuring Officer of
each Company, to hold such offices until the earlier election and qualification of their respective successors
or until their earlier resignation or removal;

         RESOLVED FURTHER, that the Proper Officers of each Company, on behalf of such Company,
are authorized, empowered and directed to retain the services of Kroll Restructuring Administration LLC
and its affiliates (“Kroll”) as each Company’s claims, noticing and solicitation agent to represent and assist
each Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to
advance each Company’s rights and obligations, and in connection therewith, the Proper Officers are hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the bankruptcy, and to cause to be filed an appropriate application for
authority to retain the services of Kroll;

         RESOLVED FURTHER, that the Proper Officers of each Company be, and hereby are, authorized
and directed to employ any other professionals necessary to assist each Company in carrying out its duties
under the Bankruptcy Code; and in connection therewith, the Proper Officers are hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers prior to or immediately upon
the filing of the Chapter 11 case and cause to be filed appropriate applications with the bankruptcy court for
authority to retain the services of any other professionals, as necessary, and on such terms as are deemed
necessary, desirable and proper;

         RESOLVED FURTHER, that the Proper Officers of each Company be, and each of them hereby is,
authorized and empowered to obtain post-petition financing according to terms which may be negotiated by
the management of each Company, including under debtor-in-possession credit facilities or the use of cash
collateral; and to enter into any guaranties and to pledge and grant liens on such Company’s assets as may
be contemplated by or required under the terms of such post-petition financing or cash collateral agreement;
and in connection therewith, the Proper Officers are hereby authorized and directed to execute appropriate
loan agreements, cash collateral agreements and related ancillary documents;

         RESOLVED FURTHER, that in connection with the Chapter 11 case, the Proper Officers of each
Company be, and each of them hereby is, authorized and empowered to enter into a restructuring support
agreement among the applicable debtor(s) and the other parties thereto, a plan of reorganization or
liquidation, as applicable, and any disclosure statements in connection therewith, and to perform the
obligations of each Company, as applicable, contemplated thereunder;

        RESOLVED FURTHER, that the Proper Officers of each Company be, and each of them hereby is,
authorized on behalf of such Company to take any and all actions, to execute, deliver, certify, file and/or
record and perform any and all documents, agreements, instruments, motions, affidavits, applications for
approvals or rulings of governmental or regulatory authorities or certificates and to take any and all actions
and steps deemed by any such Proper Officer to be necessary or desirable to carry out the purpose and intent
of each of the foregoing resolutions and to effectuate a successful Chapter 11 case, including, but not limited



                                                      3
          Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 16 of 19




to the development, filing and prosecution to confirmation of a Chapter 11 plan and related disclosure
statement; and

        RESOLVED FURTHER, that any and all actions heretofore taken by a Proper Officer of any
Company or the Governing Body of any Company in the name and on behalf of such Company in
furtherance of the purpose and intent of any or all of the foregoing resolutions be, and hereby are, ratified,
confirmed, and approved in all respects.

General

         RESOLVED FURTHER, that each Company and the Proper Officers of such Company, and
counsel are, and each of them hereby is, authorized and empowered, for, in the name of and on behalf of
such Company to take any and all such further action as may be necessary or proper to carry out the intent
and accomplish the purposes of the above resolutions, including, but not limited to, making such filings or
applications with the appropriate governmental and regulatory authorities and executing and delivering such
documents and instruments as shall be deemed necessary or proper in connection therewith;

         RESOLVED FURTHER, that any and all actions heretofore or hereafter taken by the Proper
Officers of each Company in connection with any matter referred to or contemplated by the foregoing
resolutions are hereby ratified and confirmed as the act and deed of the Company; and

       RESOLVED FURTHER, that this Consent may be executed by original or any electronic signature
complying with the Electronic Signatures in Global and National Commerce Act of 2000 (including
DocuSign) and delivered by facsimile, Portable Document Format (.pdf), or other electronic imaging means,
and in any number of counterparts with the same effect as if all parties hereto had signed the same
document. All counterparts shall be construed together to constitute one and the same instrument.

                                         [Signature Pages Follow]




                                                      4
                                    Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 17 of 19
Fill in this information to identify the case:
     Debtor name: Alpine Summit Energy Partners, Inc., et al.                                                                                                                                            □ Check if this is an amended filing
     United States Bankruptcy Court for the: Southern District of Texas (Houston)
     Case number (if known): 23‐ _____( )



Official Form 204

Chapter 11: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                                                                                                                               12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims
by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

Name of creditor and complete mailing address, including zip     Name, telephone number, and email address of        Nature of the claim(for example,   Indicate if claim is   Amount of unsecured claim
code                                                             creditor contact                                    trade debts, bank loans,           contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially
                                                                                                                     professional services, and         unliquidated, or       secured, fill in total claim amount and deduction for value of collateral or setoff to calculate
                                                                                                                     government contracts)              disputed               unsecured claim.
                                                                                                                                                                                 Total claim, if partially
                                                                                                                                                                                                            Deduction for value of collateral or setoff     Unsecured Claim
                                                                                                                                                                                         secured
                 SOTAOG LLC                                      SOTAOG LLC
                 ATTN: ROBERT ESTILL                             ATTN: ROBERT ESTILL
1                1707 1/2 POST OAK BLVD                          PHONE: 281‐460‐0498                                          TRADE VENDOR                                                                                                                   $4,893,345
                 STE 264                                         EMAIL: REESTILL@SOTAOG.COM
                 HOUSTON, TX 77056
                 MAGNOLIA OIL & GAS OPERATING, LLC               MAGNOLIA OIL & GAS OPERATING, LLC
                 ATTN: DENISE SPEER                              ATTN: DENISE SPEER
                                                                                                                       ROYALTY & NON‐OPERATING
2                NINE GREENWAY PLAZA                             PHONE: 713‐842‐9055                                                                                                                                                                         $2,565,751
                                                                                                                          WORKING INTEREST
                 SUITE 1300                                      EMAIL: DSPEER@MGYOIL.COM
                 HOUSTON, TX 77046
                 BOLD PRODUCTION SERVICES, LLC                   BOLD PRODUCTION SERVICES, LLC
                 ATTN: DEBI AVILA                                ATTN: DEBI AVILA
3                10880 ALCOTT DR.                                PHONE: 833‐369‐2653                                          TRADE VENDOR                                                                                                                   $2,207,235
                 SUITE A                                         EMAIL: DAVILA@BPS‐LLC.COM
                 HOUSTON, TX 77043
                 COMPLETION EQUIPMENT RENTAL, INC.               COMPLETION EQUIPMENT RENTAL, INC.
                 ATTN: LISA ROBINSON                             ATTN: LISA ROBINSON
4                4085 CIBOLO CANYONS STREET                      PHONE: 210‐462‐7132                                          TRADE VENDOR                                                                                                                   $2,053,369
                 SUITE 101                                       EMAIL: AR@COMPLETIONRENTAL.COM
                 SAN ANTONIO, TX 78261
                                                                 LEGACY ENERGY SERVICES
                 LEGACY ENERGY SERVICES
                                                                 ATTN: JESSICA YANUSHKA
                 ATTN: JESSICA YANUSHKA
5                                                                PHONE: 210‐289‐2482                                          TRADE VENDOR                                                                                                                   $1,946,856
                 3276 COUNTY ROAD 303
                                                                 EMAIL: JESSICA@LEGACYENERSERV.COM
                 JOURDANTON, TX 78026
                                                                 SMART OILFIELD SERVICES LLC
                 SMART OILFIELD SERVICES LLC
                                                                 ATTN: KATLYNN CANNON
                 ATTN: KATLYNN CANNON
6                                                                PHONE: 936‐336‐3768                                          TRADE VENDOR                                                                                                                   $1,627,422
                 P.O. BOX 3002
                                                                 FAX: 936‐334‐1951
                 LIBERTY, TX 77575
                                                                 EMAIL: AP@SMARTOILFIELDSERVICES.COM
                                                                 TGM SERVICES INC.
                 TGM SERVICES INC.
                                                                 ATTN: REBEKAH ZUNIGA
                 ATTN: REBEKAH ZUNIGA
7                                                                PHONE: 979‐716‐8999                                          TRADE VENDOR                                                                                                                   $1,624,585
                 P.O. BOX 566
                                                                 EMAIL: BEK@TGMSI.COM
                 GIDDINGS, TX 78942

                 GLADIATOR ENERGY, LLC                           GLADIATOR ENERGY, LLC
                 ATTN: CINDY MARTINEZ ‐ AP/AR SUPERVISOR         ATTN: CINDY MARTINEZ ‐ AP/AR SUPERVISOR
8                3200 SOUTHWEST FREEWAY                          PHONE: 832‐372‐7315                                          TRADE VENDOR                                                                                                                   $1,576,340
                 SUITE 1275                                      EMAIL: AR@GLADIATORENERGY.COM
                 HOUSTON, TX 77027
                                                                 ROYALTY E‐LINE LLC
                 ROYALTY E‐LINE LLC
                                                                 ATTN: LEEANN COLEMAN
                 ATTN: LEEANN COLEMAN
9                                                                PHONE: 830‐694‐3142                                          TRADE VENDOR                                                                                                                   $1,550,802
                 9224 US HWY 277
                                                                 FAX: 830‐694‐3142
                 CARRIZO SPRINGS, TX 78834
                                                                 EMAIL: LCOLEMAN@ROYALTYELINE.COM
                                                                 ESTIS COMPRESSION LLC
                 ESTIS COMPRESSION LLC
                                                                 ATTN: ANGELIA PALMER
                 ATTN: ANGELIA PALMER
10                                                               PHONE: 318 397‐5557                                          TRADE VENDOR                                                                                                                   $1,506,978
                 545 HUEY LENARD LOOP
                                                                 FAX: 903‐643‐8939
                 WEST MONROE, LA 71292
                                                                 EMAIL: APALMER@ESTISCOMPRESSION.COM
                                                                 TDS ENTERPRISES INC.
                 TDS ENTERPRISES INC.
                                                                 ATTN: THOMAS (JE) SCHAMBER
                 ATTN: THOMAS (JE) SCHAMBER
11                                                               PHONE: 307‐349‐5621                                          TRADE VENDOR                                                                                                                   $1,312,933
                 8 BRANDT RD.
                                                                 EMAIL: DESWYO@GMAIL.COM
                 BOERNE, TX 78006
                 RWDY INC                                        RWDY INC
                 ATTN: LYNN WOLLMAN                              ATTN: LYNN WOLLMAN
12               950 ECHO LANE                                   PHONE: 713‐984‐7554                                          TRADE VENDOR                                                                                                                   $1,120,550
                 SUITE 200                                       EMAIL: BTO@RWDYINC.COM
                 HOUSTON, TX 77024
                                                                 FLOW ZONE, LLC
                 FLOW ZONE, LLC
                                                                 ATTN: TONYA WATSON
                 ATTN: TONYA WATSON
13                                                               PHONE: 281‐406‐9402                                          TRADE VENDOR                                                                                                                   $1,100,364
                 DEPT. 248 P.O. BOX 4346
                                                                 EMAIL: TKWATSON@FLOW‐ZONE.COM
                 HOUSTON, TX 77210
                                                                 EXXON MOBIL CORPORATION
                 EXXON MOBIL CORPORATION
                                                                 ATTN: PRESIDENT OR GENERAL COUNSEL
                 ATTN: PRESIDENT OR GENERAL COUNSEL                                                                    ROYALTY & NON‐OPERATING
14                                                               PHONE: 972‐940‐6000                                                                                                                                                                          $857,851
                 5959 LAS COLINAS BOULEVARD                                                                               WORKING INTEREST
                 IRVING, TX 75039‐2298
                                                                 QUORUM BUSINESS SOLUTIONS
                 QUORUM BUSINESS SOLUTIONS                       ATTN: PRESIDENT OR GENERAL COUNSEL
                 ATTN: PRESIDENT OR GENERAL COUNSEL              PHONE: 713‐430‐8600
                                                                 EMAIL:
15               811 MAIN STREET                                                                                              TRADE VENDOR                                                                                                                    $730,458
                                                                 REMITTANCE.NOTIFICATION@QUORUMSOFTWAR E.COM
                 SUITE 2000
                 HOUSTON, TX 77002

                                                                 PATRIOT STEEL GROUP, LLC
                 PATRIOT STEEL GROUP, LLC
                                                                 ATTN: BRANDON
                 ATTN: BRANDON
16                                                               PHONE: 337‐400‐2061                                          TRADE VENDOR                                                                                                                    $720,271
                 PO BOX 548
                                                                 EMAIL: CHRIS@PATRIOTSTEELGROUP.COM
                 BROUSSARD, LA 70518
                                                                 SOUTH TEXAS FENCING & TRENCHING
                 SOUTH TEXAS FENCING & TRENCHING
                                                                 ATTN: KEVIN KERR
                 ATTN: KEVIN KERR
17                                                               PHONE: 361‐492‐0876                                          TRADE VENDOR                                                                                                                    $635,800
                 PO BOX 1499
                 ALICE, TX 78333
                                      Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 18 of 19 Case number (if known): 23‐_____( )
Debtor: Alpine Summit Energy Partners, Inc., et al.

  Name of creditor and complete mailing address, including zip   Name, telephone number, and email address of    Nature of the claim(for example,   Indicate if claim is   Amount of unsecured claim
  code                                                           creditor contact                                trade debts, bank loans,           contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially
                                                                                                                 professional services, and         unliquidated, or       secured, fill in total claim amount and deduction for value of collateral or setoff to calculate
                                                                                                                 government contracts)              disputed               unsecured claim.
                                                                                                                                                                             Total claim, if partially
                                                                                                                                                                                                        Deduction for value of collateral or setoff     Unsecured Claim
                                                                                                                                                                                     secured
                                                                 448 SUPPLY INC.
                    448 SUPPLY INC.
                                                                 ATTN: ASHLEY LOPEZ
                    ATTN: ASHLEY LOPEZ
  18                                                             PHONE: 979‐542‐0376                                     TRADE VENDOR                                                                                                                     $600,486
                    1482 FM 448
                                                                 EMAIL: AL448SUPPLY2014@GMAIL.COM
                    GIDDINGS, TX 78942
                                                          SAN ROMAN RANCH MINERAL PARTNERS, LTD
                    SAN ROMAN RANCH MINERAL PARTNERS, LTD
                                                          ATTN: LAUREN CHILTON
                    ATTN: LAUREN CHILTON                                                                          ROYALTY & NON‐OPERATING
  19                                                      PHONE: 214‐277‐4702                                                                                                                                                                             $591,495
                    5635 YOLANDA CIRCLE                                                                              WORKING INTEREST
                                                          EMAIL: LAUREN.CHILTON@ICLOUD.COM
                    DALLAS, TX 75229
                    STERLING CRANE LLC                           STERLING CRANE LLC
                    ATTN: PRESIDENT OR GENERAL COUNSEL           ATTN: PRESIDENT OR GENERAL COUNSEL
  20                9351 GRANT ST.                               PHONE: 303‐422‐0434                                     TRADE VENDOR                                                                                                                     $525,715
                    SUITE 250                                    FAX: 303‐431‐9462
                    THORNTON, CO 80229                           EMAIL: PHIBBERT@STERLINGCRANE.COM
                                                                 NITRO FLUIDS LLC
                    NITRO FLUIDS LLC
                                                                 ATTN: ERIC FONTENOT
                    ATTN: ERIC FONTENOT
  21                                                             PHONE: 361‐938‐7400                                     TRADE VENDOR                                                                                                                     $437,156
                    P.O. BOX 585
                    YORKTOWN, TX 78164
                                                                 TREND SERVICES INC.
                    TREND SERVICES INC.
                                                                 ATTN: PRESIDENT OR GENERAL COUNSEL
                    ATTN: PRESIDENT OR GENERAL COUNSEL
  22                                                             PHONE: 337‐234‐7990                                     TRADE VENDOR                                                                                                                     $379,667
                    2825 SE EVANGELINE THRUWAY
                                                                 FAX: 337‐232‐3709
                    LAFAYETTE, LA 70508
                                                                 EMAIL: AROBERTS@TSINC.CC
                                                                 R & L WATER LLC
                    R & L WATER LLC
                                                                 ATTN: PRESIDENT OR GENERAL COUNSEL
                    ATTN: PRESIDENT OR GENERAL COUNSEL
  23                                                             PHONE: 512‐284‐2739                                     TRADE VENDOR                                                                                                                     $375,000
                    1595 COUNTY ROAD 221
                    GIDDINGS, TX 78942
                                                                 MORGAN PETROLEUM TESTERS, INC.
                    MORGAN PETROLEUM TESTERS, INC.
                                                                 ATTN: CHRIS MANNING
                    ATTN: CHRIS MANNING
  24                                                             PHONE: 979‐542‐9390                                     TRADE VENDOR                                                                                                                     $359,267
                    PO BOX 1006
                                                                 FAX: 979‐542‐9463
                    GIDDINGS, TX 78942
                                                                 EMAIL: INFO@MORGANTESTERS.COM
                                                                 ACME TRUCK LINE SERVICE INC.
                    ACME TRUCK LINE SERVICE INC.
                                                                 ATTN: PRESIDENT OR GENERAL COUNSEL
                    ATTN: PRESIDENT OR GENERAL COUNSEL
  25                                                             PHONE: 504‐368‐2510                                     TRADE VENDOR                                                                                                                     $335,406
                    MSC‐410683
                                                                 FAX: 888‐345‐2263
                    NASHVILLE, TN 37241
                                                                 EMAIL: CREDIT@ACMETRUCK.COM
                                                                 OILFIELD INSTRUMENTATION USA ALDONS
                    OILFIELD INSTRUMENTATION USA ALDONS
                                                                 ATTN: KEITH PRICE/DEREK COOK
                    ATTN: KEITH PRICE/DEREK COOK
  26                                                             PHONE: 337‐839‐1263                                     TRADE VENDOR                                                                                                                     $333,884
                    PO BOX 51902
                                                                 FAX: 337‐982‐2344
                    LAFAYETTE, LA 70505
                                                                 EMAIL: HWHITNEY@OIUSA.COM
                    AQUATERRA WATER MANAGMENT                    AQUATERRA WATER MANAGMENT
                    ATTN: PRESIDENT OR GENERAL COUNSEL           ATTN: PRESIDENT OR GENERAL COUNSEL
  27                10343 W. SAM HOUSTON PKWY N.                 PHONE: 979‐690‐2226                                     TRADE VENDOR                                                                                                                     $330,825
                    SUITE 325
                    HOUSTON, TX 77064
                                                                 RICHARD'S HOT OIL & LEASE SERVICE
                    RICHARD'S HOT OIL & LEASE SERVICE
                                                                 ATTN: PRESIDENT OR GENERAL COUNSEL
                    ATTN: PRESIDENT OR GENERAL COUNSEL
  28                                                             EMAIL: RHOS1983@HOTMAIL.COM                             TRADE VENDOR                                                                                                                     $320,071
                    P.O BOX 816
                    GIDDINGS, TX 78942
                                                                 ROCKING W ENERGY SERVICES, LLC
                    ROCKING W ENERGY SERVICES, LLC
                                                                 ATTN: KACY FRAZIER ‐ CONTROLLER
                    ATTN: KACY FRAZIER ‐ CONTROLLER
  29                                                             PHONE: 361‐813‐5174                                     TRADE VENDOR                                                                                                                     $301,945
                    PO BOX 458
                                                                 EMAIL: KACY@ROCKINGWES.COM
                    BANQUETE, TX 78339
                    GEOSTEERING LLP                              GEOSTEERING LLP
                    ATTN: PRESIDENT OR GENERAL COUNSEL           ATTN: PRESIDENT OR GENERAL COUNSEL
  30                77 SUGAR CREEK CENTER BLVD.                                                                          TRADE VENDOR                                                                                                                     $296,778
                    STE. 385
                    SUGARLAND, TX 77478




Official Form 204                                                                         Chapter 11 Cases: List of Creditors Who Have the 30 Largest Unecured Claims                                                                                                  Page 2
                         Case 23-90739 Document 1 Filed in TXSB on 07/05/23 Page 19 of 19




 Fill in this information to identify the case:

 Debtor name         Alpine Summit Energy Partners, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204
                  )Other document that requires a declaration
                                                                Consolidated Corporate Ownership Statement and List of Equity Interest
                                                                           Holders Pursuant to Fed. R. Bankr. P. 1007(a)(1), 1007(a)(3), and 7007.1

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         07/05/2023                               X /s/ Craig Perry
                                                                        Signature of individual signing on behalf of debtor

                                                                       Craig Perry
                                                                       Printed name

                                                                       CEO and Chairman of the Board Alpine Summit Energy Partners, Inc.
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
